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                    SO ORDERED: July 22, 2022.




                       ______________________________
                       Andrea K. McCord
                       United States Bankruptcy Judge




                  UNITED STATES BANKRUPTCY COURT
                    SOUTHERN DISTRICT OF INDIANA
                        NEW ALBANY DIVISION

   IN RE:                                  }
   WILLIAM MADDEN                          }     CASE NO. 19-90378-AKM-13
   TIA WILFONG                             }
        Debtors                            }
             ORDER GRANTING DEBTORS MOTION TO INCUR DEBT

   The Court has been advised the debtors propose to purchase real estate to use
   as their primary residence located at 274 E Seaton Hill Rd, Grantsburg, Indiana
   47123. The terms of the purchase are as follows:

                         Primary Residential Mortgage, Inc
                Amount to be financed / principal balance: $52,040.00
                             Interest rate: Fixed 6.75%
                 Estimated principal and interest payment: $337.53
                      Estimated taxes and insurance: $136.00
                             Term of loan: 360 months
                         Estimated maturity date: July 2052

             It is ordered that the Motion to Incur Debt is hereby granted.

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